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                                  UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF OREGON

                                       PORTLAND DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff,                            CASE NO. 3:18-cr-00319-MO-2

       v.                                                  UNOPPOSED MOTION TO
                                                           WITHDRAW AS COUNSEL

EARL DEVERLE FISHER,

                  Defendant.
_______________________________________

       Deborah S. Burdzik, counsel for defendant Earl Deverle Fisher, hereby respectfully

moves to withdraw as one of the attorneys of record in the above-mentioned case. Counsel

has accepted a position with the Capital Murder Unit at Metropolitan Public Defender, Inc.

starting on December 31, 2019.

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The government, through Assistant United States Attorney Leah Bolstad, has no objection to

this request.

       RESPECTFULLY SUBMITTED this 30th day of December, 2019.

                                           /s/ Deborah Burdzik
                                           _____________________________
                                           Deborah S. Burdzik, OSB #964071
                                           Attorney for Earl Deverle Fisher




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